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                      IN THE UNITED STATES DISTRICT COURT


                     FOR THE SOUTHERN DISTRICT OF GEORGIA


                                   AUGUSTA DIVISION


EDUARDO JUAREZ GALLEGOS,

              Petitioner,

       v.                                                 CV 116-127
                                                          (Formerly CR 113-220)
UNITED STATES OF AMERICA,

              Respondent.


                                         ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation ("R&R"), to which objections have been filed. (Doc.

no. 4.) The Magistrate Judge recommended dismissal of the motion filed pursuant to 28

U.S.C. § 2255 on the basis it is untimely and Petitioner is not eligible for equitable tolling.

(See doc. no. 2.) Nothing in Petitioner's objections undermines the Magistrate Judge's

recommendation, and only one objection warrants further comment.

       Petitioner objects he was not granted equitable tolling for his severe medical
problems, which he supports with attached medical records. (Doc. no. 4, pp. 1, 4-6.) While
the Court does not doubt Petitioner's medical difficulties, he has not shown "(1) that his

medical conditions were sufficiently debilitating to constitute 'extraordinary circumstances'
justifying equitable tolling and (2) that he exercised enough diligence in pursuing his [§
2255] petition during the limitation period." Lang v. Alabama. 179 F. App'x 650, 652 (11th
Cir.2006).
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       Petitioner's surgery and treatment for gangrene occurred in early March 2015, nearly

one year before the February 5, 2016 deadline to file his motion. (See doc. no. 4, pp. 4-6.)

Although Petitioner claims the pain and medication associated with the surgery "rendered

him mentally incompetent and caused him to fail to meet one year AEDPA filing deadlines-

he fails to allege how the pain and medication rendered him incompetent, the duration of his

incompetency, and how it prevented him from filing his motion on time. (Doc. no. 4, p. 1);

see also Shelby v. McNeil No. 3:Q9CV230/WS/EMT, 2010 WL 1850524, at *5 (N.D. Fla.

Apr. 14, 2010), report and recommendation adopted, No. 3:09CV230-WS, 2010 WL

1850520 (N.D. Fla. May 7, 2010) (petitioner not entitled to equitable tolling where he did not

allege how mental condition actually prevented him from filing timely federal petition).

       Despite his March 2015 surgery, Petitioner was able to petition the Supreme Court of

Georgia on December 8, 2015, well within the one year AEDPA filing deadline, which

indicates he was capable of pursuing his rights with diligence. That he petitioned the wrong

court does not entitle him to equitable tolling. See Siblev v. Culliven 377 F.3d 1196, 1203

(11th Cir. 2004) (application filed in wrong court does not toll AEDPA statute of

limitations). Petitioner further concedes his medical issues were only one of many reasons

Petitioner did not timely file his motion. (See doc. no. 4, p. 1.) Given all of these factors,

Petitioner is not entitled to equitable tolling and his petition is untimely.

       Accordingly, the Court OVERRULES Petitioner's objections, ADOPTS the Report

and Recommendation of the Magistrate Judge as its opinion, and DISMISSES the motion

filed pursuant to 28 U.S.C. § 2255. Because Petitioner's motion is untimely and the case is
ripe for dismissal, the Court also DISMISSES AS MOOT Petitioner's motion for a sentence
reduction in the underlying criminal case. (CR 113-220, doc. no. 484.)
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       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.1
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal informa pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED thi^p//day ofOctober, 2016, at Augusta, Georgia.


                                                      J. RANDAL HALL
                                           UNITED STATES DISTRICT JUDGE
                                           SOUTHER^DISTRICT OF GEORGIA




         l"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
